Case 2:16-ap-01374-ER        Doc 112 Filed 05/24/18 Entered 05/24/18 15:09:36                    Desc
                               Main Document Page 1 of 2




                                                                     FILED & ENTERED

                                                                            MAY 24 2018

                                                                       CLERK U.S. BANKRUPTCY COURT
                                                                       Central District of California
                                                                       BY gonzalez DEPUTY CLERK




                  UNITED STATES BANKRUPTCY COURT
                    CENTRAL DISTRICT OF CALIFORNIA
                             LOS ANGELES DIVISION


In re:    Liberty Asset Management             Case No.:    2:16-bk-13575-ER
          Corporation, Debtor                  Adv. No.:    2:16-ap-01374-ER
Official Unsecured Creditors Committee for    ORDER DIRECTING DEFENDANT TO
Liberty Asset Management Corporation,         SUBMIT MISSING TRIAL EXHIBITS TO
                                    Plaintiff CHAMBERS BY NO LATER THAN MAY
                                              25, 2018 AT 5:00 P.M.
                     v.
Tsai Luan Ho,                                  TRIAL:
                                  Defendant Date:          May 29–30, 2018
                                               Time:       9:00 a.m.
                                               Location:   Ctrm. 1568
                                                           Roybal Federal Building
                                                           255 East Temple Street
                                                           Los Angeles, CA 90012

    The trial exhibit binder submitted by Defendant to the Court is missing exhibits C and O. The
Court HEREBY ORDERS Defendant to deliver the missing exhibits to chambers by no later
than Friday, May 25, 2018 at 5:00 p.m.
Case 2:16-ap-01374-ER    Doc 112 Filed 05/24/18 Entered 05/24/18 15:09:36   Desc
                           Main Document Page 2 of 2


   IT IS SO ORDERED.
                                      ###




    Date: May 24, 2018
